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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA



                                             )
                                             )                 Case No.: 20-Civ-21887-GAYLES
      COMMODITY FUTURES TRADING              )
      COMMISSION,                            )
                                             )
                     Plaintiff,              )
                                             )
                     vs.                     )
                                             )
   DANIEL FINGERHUT,                         )
   DIGITAL PLATINUM, INC.,                   )
   DIGITAL PLATINUM, LLC, HUF                )
   MEDIYA, LTD                               )
   (a.k.a HOOF MEDIA LTD.), TAL VALAROLA )
   and                                       )
   ITAY BARAK                                )
                                             )
                     Defendants,             )
                                             )
                                             )
   AICEL CARBONERO                           )
                                             )
                     Relief Defendant.       )
   __________________________________________)


                           ORDER GRANTING PLAINTIFF’S
                      SECOND MOTION FOR ALTERNATIVE SERVICE


          THIS CAUSE comes before the Court on Plaintiff’s Second Motion for Alternative

   Service (the “Motion”) Defendants Tal Valariola (“Valariola”), Itay Barak (“Barak”), and Digital

   Platinum Ltd. (“Ltd.”) (“Israeli Defendants”) pursuant to Federal Rule of Civil Procedure 4(f)(3)

   and 4(h)(2). [ECF No. ___]. The Court has reviewed the Motion and the record and is otherwise

   fully advised. The Court finds good cause to authorize alternative service via UPS and email

   because those methods are reasonably calculated to provide notice to defendants. The Court
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   further authorizes the Commission to file the return or electronic receipt (or substantially similar

   documents) as proof of service upon delivery via UPS and to file the transmission emails as

   proof of service pursuant to Federal Rule of Civil Procedure 4(l)(2)(B). Specifically:

      1. The Court finds that Israeli Defendants reside in Israel.

      2. The Court finds that service via UPS, email, and email to counsel in the

          United States for Israeli Defendants is not expressly prohibited by any

          international agreement.

      3. The Court further find that service via email directly to Israeli Defendants

          and to counsel for Israeli Defendants comports with constitutional notions of

          fairness under the circumstances because it will provide Israeli Defendants

          notice of the Complaint and an opportunity to raise objections and be heard.

      4. Service through international processes and/or international registered mail is

          impracticable and would create undue delay based on the facts and

          circumstances applicable here, the nature of this action, and its procedural

          posture.

      5. Accordingly, it is

      ORDERED AND ADJUDGED as follows:

      1. Plaintiff’s Expedited Motion for Alternative Service [ECF No. ___] is GRANTED.

      2. Plaintiff is authorized to serve the Amended Complaint [ECF No. 101], summons [ECF Nos.

          103], and all filings in this matter via UPS, electronic mail directly to Israeli Defendants

          (talv@digitalplatinum.com, talvalariola@gmail.com, valariolatal@gmail.com,

          itayb@digitalplatinum.com and itaybarak01@gmail.com), and electronic mail to counsel

          who have filed an appearance, submitted an application for admission pro hac vice, and/or
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         otherwise submitted evidence or participated in this matter on behalf of Israeli Defendants

         (Seth.Taube@BakerBotts.com, jpickholz@pickholzlaw.com, and

         lmayersohn@mayersohnlaw.com).

      3. Plaintiff may file the electronic delivery receipt (or substantially similar documents) and

         transmission emails as proof of service for Israeli Defendants.

   DONE AND ORDERED in Chambers in Miami, Florida, this __ day of June, 2020.



                                                 ________________________________

                                                 DARRIN P. GAYLES
                                                 UNITED STATES DISTRICT JUDGE
